        Case 1:17-cv-00431-AT Document 167 Filed 01/04/18 Page 1 of 2



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


ATLANTIC RECORDING                     :
CORPORATION, LAFACE RECORDS            :
LLC, SONY MUSIC                        :
ENTERTAINMENT, UMG                     :
RECORDINGS, INC., WARNER               :        CIVIL ACTION NO.
BROS. RECORDS INC.,                    :         1:17-cv-00431-AT
                                       :
      Plaintiff,                       :
                                       :
v.                                     :
                                       :
SPINRILLA, LLC, and JEFFERY            :
DYLAN COPELAND,                        :
                                       :
      Defendants.                      :

                                   ORDER

      This matter is before the Court on Plaintiffs’ Motion for Partial Summary

Judgment [Doc. 42] and Defendants’ Motion to Defer Ruling on Motion for

Partial Summary Judgment [Doc. 49] requesting additional discovery on fact

issues related to Plaintiffs’ summary judgment motion.

      Defendants’ Motion to Defer Ruling on Motion for Partial Summary

Judgment [Doc. 49] is GRANTED and Plaintiffs’ Motion for Partial Summary

Judgment [Doc. 42] is DENIED WITHOUT PREJUDICE. Plaintiffs may

renew their motion at the conclusion of discovery pursuant to the terms of the

Amended Scheduling Order at Doc. 166, and no later than March 5, 2018.
 Case 1:17-cv-00431-AT Document 167 Filed 01/04/18 Page 2 of 2



IT IS SO ORDERED this 4th day of January, 2018.



                            _____________________________
                            Amy Totenberg
                            United States District Judge




                              2
